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  (12) United States Patent                                               (10) Patent No.:                   US 9,300,723 B2
         Rothschild                                                       (45) Date of Patent:                      *Mar. 29, 2016
  (54)   ENABLING SOCIAL INTERACTIVE                                  (56)                      References Cited
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  (75) Inventor: Leigh M. Rothschild, Sunny Isles                            4,672,572 A         6/1987 Alsberg
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  (65)                  Prior Publication Data                        num? ch4.htm>.
         US 2012/O254360-A1          Oct. 4, 2012                                                  (Continued)
               Related U.S. Application Data                          Primary Examiner — Jungwon Chang
  (63) Continuation-in-part of application No. 11/999,570,            (74) Attorney, Agent, or Firm — Greer, Burns & Crain, Ltd.
       filed on Dec. 7, 2007, now Pat. No. 8,671,195.
                                                                      (57)                        ABSTRACT
  (51)   Int. C.                                                      A transfer system from transferring a media file includes a
         G06F 15/16              (2006.01)                            vehicle media system and a wireless mobile device. The
         H04L 29/08              (2006.01)                            vehicle media system includes a wireless receiver, a security
         H04L 29/06              (2006.01)                            measure, and a processor configured to wirelessly detect the
         HO47 (2/08              (2009.01)                            wireless mobile device, and receive, using the wireless
  (52)   U.S. C.                                                      receiver, the media file from the wireless mobile device. The
         CPC ............ H04L 67/06 (2013.01); H04L 63/0209          wireless mobile device includes a wireless transmitter, and a
                (2013.01); H04L 63/10 (2013.01); H04L 63/20           processor configured to wirelessly detect the vehicle media
                            (2013.01); H04 W 12/08 (2013.01)          system, and transmit, using the wireless receiver, the media
  (58)   Field of Classification Search                               file from the wireless mobile device. At least one of the
         CPC ..... H04L 63/00, H04L 63/0209; H04L 63/10;              wireless mobile device and vehicle media system is config
                   H04L 67/06; H04L 65/1069; H04L 67/14;              ured to create a wireless connection between the vehicle
                                 H04L 63/20: H04W 12/08               media system and the wireless mobile device, and the wire
         USPC ........ 701/33; 370/338,395.52; 709/223, 203,          less connection does not include the security measure.
                                     709/225, 229, 217:455/420
         See application file for complete search history.                             50 Claims, 4 Drawing Sheets

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            100
                   N
                                       Media Node
                                                              102
                                  Disposed Within
                                   Wireless Range


                                      Media Terminal
                                                              104
                                         Detects
                                       Media Node



                                  Media Terminal
                                     Initiates                106
                                Communication Link
                                 With Media Node



                                     Establish                108
                                Communication Link




                                      Transmit Digital
                                        Media File              110
                                         Between
                                      Media Node and
                                      Media Terminal



                                                          FIGURE 4
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                                1.                                                                   2
            ENABLING SOCIAL INTERACTIVE                               structured to display, save, edit, manipulate, and/or transfer
             WIRELESS COMMUNICATIONS                                  the one or more digital media files.
                                                                             BRIEF DESCRIPTION OF THE SEVERAL
             CROSS-REFERENCE TO RELATED                                           VIEWS OF THE DRAWINGS
                    APPLICATIONS
                                                                      For a more complete understanding of the nature of the
    This application is a Continuation-in-Part of U.S. applica     present disclosure, reference should be had to the following
  tion Ser. No. 11/999,570, filed on Dec. 7, 2007, which is        detailed description taken in connection with the accompa
                                                                10 nying drawings in which:
  incorporated herein by reference in its entirety.
                                                                      FIG. 1 is a schematic representation of one embodiment of
                        BACKGROUND
                                                                   the digital media communication protocol in accordance with
                                                                   the present specification.
                                                                      FIG. 2 is a schematic representation of another embodi
     1. Field                                                   15 ment of the digital media communication protocol in accor

     The present disclosure is generally related to a digital dance       with the present specification.
                                                                      FIG.3  is a schematic representation of yet another embodi
  media communication protocol structured to facilitate trans ment of the        digital media communication protocol in accor
  ferring and/or transmitting one or more digital media files to dance with the     present specification.
  and/or from a media terminal and a media node via at least
                                                                      FIG. 4 is a partial flow chart of at least one illustrative
  one interactive computer network.                                implementation of the digital media communication protocol
     2. Description of the Related Art                             of the present specification. FIG. 1 is a schematic represen
     As technology continues to develop and play a significant     tation of at least one embodiment of the system for enabling
  role in today's Society, a vast majority of portable devices, 25 Social interactive wireless communication as disclosed in
  including mobile telephones, cellular telephones, portable accordance          with the present disclosure.
                                                                      Like reference numerals refer to like parts throughout the
  MP3 players, handheld or portable game consoles, Personal several         views of the drawings.
  Digital Assistants ("PDA), etc. are equipped with memory
  devices, such as hard drives and/or removable flash or                              DETAILED DESCRIPTION
  memory cards, which are capable of holding or storing large 30
  amounts of data and or digital media files including digital          As shown in the accompanying drawings, the present
  photographs, Videos, audio/music files, etc. Accordingly, specification relates to a digital media communication proto
  with the advent of such devices having these capabilities, col, generally indicated as 10. As illustrated in FIGS. 1
  individuals or users are more inclined to carry around their through 3, at least one embodiment of the present protocol or
  media files, such as, for example, digital photo albums, family 35 system 10 includes one or more media terminals 20 and one or
  Videos, and/or favorite music tracks.                              more media nodes 30. In particular, the media terminal(s) 20
     The drawback to the above noted portable media devices, of attoleast       one embodiment is disposed in an accessible rela
  however, is that many of the devices include relatively small tion        at least one interactive computer network 40 and may
  display screens, some of which display poor quality photos 40 include,      for example, a computer processing device 22, an
                                                                     input device 24, and a display device 26. Accordingly, as
  and/or videos. In addition, the speakers associated with the shown in FIG. 1, the media terminal(s) 20 of the various
  corresponding portable device(s) are typically rather Small embodiments described herein may include a computer, how
  and produce minimal or poor Sound therefrom.                       ever, any device structured to facilitate the practice of the
     In addition, the individuals or users of the media devices      present system in the intended fashion may be utilized,
  may desire to share the digital media files and/or transfer, 45 including but in no way limited to a desktop computer, laptop
  display, or play the files on a computer or other media device or notebook computer, PDA, Video game console, mobile
  equipped with a larger or better quality Screen, or having telephone, media system of a vehicle (e.g., an automobile),
  higher quality speakers than that disposed on the portable etc.
  device(s). In addition, some media devices may have better 50 present The media node(s) 30 of at least one embodiment of the
  editing software, or have access to the World Wide Web to as a cellular    system 10 generally includes a portable device Such
  further distribute the digital media files.                                     or mobile telephone, PDA, portable mp3 player,
                                                                     laptop or notebook computer, or any other digital media
     Accordingly, it would be advantageous if the digital media device structured to facilitate the practice of the present sys
  communication protocol of the present specification is struc tem in the intended manner. In at least one embodiment,
  tured to facilitate transferring or transmitting one or more 55 however, the media node 30 is not limited to a portable device,
  digital media files between two or more media devices. Such and may include a more stationary device or structure such as,
  as a media terminal and/or a media node, via at least one          for example, a desktop computer.
  interactive computer network. In particular, it would be ben          Furthermore, the various embodiments of the present
  eficial if the digital media communication protocol includes a specification include at least one interactive computer net
  communication link structured to bypass at least one or more 60 work 40, 40'. In particular, as illustrated in FIG. 1, at least one
  security measures, such as a password and/or firewall, embodiment includes one or more home, office, private, lim
  employed by the interactive computer network, the corre ited, or closed interactive computer networks 40 at least par
  sponding networking devices, and/or the particular media tially defined by one or more networking devices 42, includ
  devices themselves.                                                ing but not limited to a router, access point, and/or Switch.
     In addition, once the communication link is established it 65 Accordingly, the interactive computer network 40 may
  would be particularly beneficial if the various media devices, include a Local Area Network (“LAN”), Wide Area Network
  including the media terminal(s) and/or media node(s), are (“WAN'), Private Area Network (“PAN), peer-to-peer net
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  work, near field communication (NFC), Bluetooth net                    50, the media node(s) 30 may be powered on or otherwise
  work, etc. As best shown in FIGS. 2 and 3, it is also contem           have wireless or Bluetooth capabilities activated.
  plated that, especially wherein the interactive computer                  Furthermore, the media terminal(s) 20 disposed in acces
  network 40 is a Bluetooth or peer-to-peer network, the media           sible relation to the interactive computer network 40 are
  terminal(s) 20 and/or the media node(s)30 can function as the          structured to detect the media node(s)30 as the media node(s)
  networking device(s) 42, at least to the extent of defining the        30 is disposed within the confines of or is otherwise detect
  interactive computer network 40. Additionally, and referring           able within the wireless range 50. Particularly, in at least one
  again to FIG. 1, at least one interactive computer network 40'         embodiment, each media node 30 includes a node identifier
  of at least one embodiment includes access to the WorldWide          structured to distinguish one media node 30 within the wire
  Web, for example via the Internet. Such access to the World
                                                                    10 less range 50 from another. For example, the node identifier
  WideWeb 40" may be facilitated in any manner, including but          may include a device name, model/serial number, Media
  not limited to, via a cable or DSL modem 44, as shown in FIG.        Access Control (“MAC) address, or Internet Protocol (“IP')
  1, or via one or more satellites 46 and/or one or more towers
                                                                       address. Accordingly, as the media node 30 enters or is oth
                                                                       erwise disposed within the wireless range 50, the media ter
  or base stations 48, as illustrated in FIG. 2.                    15 minal 20 is structured to detect and/or identify the media node
     In addition, and still referring to FIGS. 1 through 3, at least 30, for example, by the corresponding node identifier.
  one embodiment of the present system 10 includes a wireless             In addition, at least one embodiment of the present system
  range 50 structured to permit access to the one or more inter 10 includes a terminal program disposed in an accessible
  active computer networks 40. In particular, as shown in FIG. relation to the media terminal 20. In particular, the terminal
  1, the wireless range 50 may be at least partially defined by program of at least one embodiment is a computer Software
  networking devices 42. Such as a wireless router, access point, program structured to facilitate the practice of the present
  switch, etc. In yet another embodiment, as shown in FIGS. 2 system 10 in the intended fashion, at least from the media
  and 3, however, the wireless range 50 may be partially defined terminal 20 side of the system 10. The terminal program, of at
  by the media terminal 20 and/or media node 30, such as, for least one embodiment, may be disposed on the media termi
  example, wherein the interactive computer network 40 25 nal 20, Such as, for example, on a hard drive, or other memory
  includes a Bluetooth or peer-to-peer network.                        device associated with the media terminal 20. In yet another
     In addition, and as an attempt to minimize or eliminate embodiment, however, the terminal program may be acces
  unauthorized access or security breaches to the interactive sible via the at least one interactive network 40, 40', such as,
  computer network 40, the interactive computer network 40 for example, via the World Wide Web. For example, in the
  and/or the various networking device(s) 42 may include one 30 embodiment wherein the terminal program is accessible via
  or more networking device security measures 41 including a the World WideWeb, a user may direct a web browser dis
  firewall, and/or passwords/keys such as, for example, Wi-Fi posed in the media terminal 20 to a particular web site, which
  Protected Access (“WPA) keys, and/or Wireless Application then runs or executes the terminal program and/or downloads
  Protocol (“WAP) keys. Accordingly, only authorized indi the terminal program to the media terminal 20.
  viduals or computers may generally have access to the inter 35 Either way, the terminal program may include at least one
  active computer network 40 through the firewall, via use of Script which is structured to consistently or periodically
  the password(s)/key(s), and/or any other networking device monitor the wireless range 50 associated with the interactive
  security measure(s) 41.                                              computer network 40 for the existence of media nodes 30.
     The present system 10 further includes at least one digital When a media node 30 is disposed within the wireless range
  media file 60 initially disposed or saved on at least one of the 40 50, the terminal program may be structured or configured to
  media terminal(s) 20 or media node(s) 30. Specifically, automatically alert a user at the media terminal 20 of the
  the digital media file(s) 60 may be disposed on the media existence or detection of the media node 20. In particular, the
  terminal(s) 20, the media node(s) 30, or both. However, it terminal program may deploy a pop-up display, play an audio
  should be apparent that for purposes of the present system 10, alarm or tone, etc. On the other hand, the terminal program
  the digital media file 60 need not necessarily be created or 45 may be structured or configured to alert or notify the user of
  originated on either the media terminal(s) 20 or the media any detected media nodes 30 only upon the user's specific
  node(s) 30. In particular, the digital media file(s) 60 may instructions. For example, the media terminal 20, and in par
  include virtually any electronic file or data Such as a digital ticular the terminal program thereof, may be structured to list
  photograph, video, audio, animation, text, or any other elec or display the media nodes 30 currently disposed within the
  tronic document or object.                                        50 wireless range 50 upon the user clicking on or otherwise
     Moreover, in at least one embodiment of the present system manipulating a corresponding option of the terminal pro
  10, the media node(s) 30 is disposable within the wireless gram.
  range 50, wherein the media node 30 is detectable by the                At least one embodiment of the present system 10 further
  media terminal 20. In particular, as stated above, in at least includes a communication link 70 structured to dispose the
  one embodiment, the media node 30 includes a portable 55 media terminal(s) 20 and the media node(s) 30 in a commu
  device. Such as a mobile or cellular phone, PDA, laptop, etc. nicative relation with one another via the interactive computer
  Accordingly, the media node 30 may be disposed within, i.e., network 40. In particular, the communication link 70 of the
  enter, the confines of the wireless range 50, for example, various embodiments of the present system 10 is created
  whenauser or individual carries the media node 30 therein. In        and/or requested by the media terminal 20. As stated above,
  addition, for purposes of the present system 10, the media 60 the media terminal 20 is structured to detect the media node(s)
  node 30 may be disposed within the wireless range 50 when 30 disposed within the wireless range 50. As also stated
  the device is powered on, activated, or otherwise configured above, the media node 30 may, but need not, however, be
  into a discoverable and/or detectable state while simulta            configured to have access to the interactive computer network
  neously being physically disposed within the confines of the 40. For example, the interactive computer network 40 and/or
  wireless range 50, and as such, the media node 30 need not 65 the corresponding networking device(s) 42 may be equipped
  necessarily be portable or easily movable. For instance, while with one or more security measures 41, including a WEP key
  physically disposed within the confines of the wireless range or other password. The media node 30 may, but need not have
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  access to the WEP key or other security measure 41 so as to        selectively transmitted therebetween. In particular, if the digi
  access the corresponding interactive computer network 40.          tal media file 60 is initially disposed on the media node 30, the
  Even so, the media terminal 20 is structured to create and/or      media node 30 and the media terminal 20 may cooperatively
  initiate a communication link 70 with the one or more              communicate via the communication link 70 such that the
  detected media nodes 30 disposed within the wireless range 5 digital media file 60 may be transmitted from the media node
  50, for example, by sending and/or transmitting a request to 30 to the media terminal 20. In addition, the converse is also
  the corresponding media node(s) 30 to establish a communi true. Particularly, if the digital media file 60 is disposed on the
  cation link 70 therewith via the interactive computer network media terminal 20, the media node 30 and the media terminal
  40. As illustrated in FIG.1, the media terminal 20 need not be  20 may cooperatively communicate via the communication
  disposed within the wireless range 50 in order to detect the 10 link 70 such that the digital media file 60 may be transmitted
  media nodes 30 or to create and/or initiate a communication        from the media terminal 20 to the media node 30. Further
  link 70 therewith. In at least one embodiment of the present more, in at least one embodiment of the present system 10, the
  system 10, the media terminal 20 does, however, need to be device on which the digital media file 60 is initially disposed,
  disposed in an accessible relation with the interactive com such as the media node 30 or the media terminal 20, is struc
  puter network 40, for example, wirelessly or via a direct cable 15 tured to “push the digital media file 60 to the receiving
  43.                                                                device 20, 30 via the communication link 70. Similarly, in at
     More in particular, the communication link 70 of at least least one embodiment, once the communication link 70 is
  one embodiment of the present specification is structured to established, the receiving device 20, 30 is structured to “pull
  bypass one or more media terminal security measures 21, the digital media file 60 from the transmitting device 30, 20
  media node security measures 31, and/or networking device via the communication link 70.
  security measures 41. Moreover, the security measures 21,             For illustrative purposes only, the communication link 70,
  31, 41 may includes passwords, keys, firewalls, etc. struc the terminal program, and/or the node program may be struc
  tured to minimize or eliminate unauthorized access to the          tured to include a selective set of parameters which define or
  corresponding media terminal 20, media node 30, networking limit the permissions associated with the communication link
  device(s) 42, and/or interactive computer network 40, 40'. 25 70. In particular, in at least one embodiment, the selective set
  Referring again to FIG. 1, in the embodiment wherein the of parameters may include the option of transmitting the
  interactive computer network 40 and the wireless range 50 are digital media file 60 via the communication link 70 merely for
  at least partially defined by networking device(s) 42. Such as purposes of displaying and/or playing the digital media file
  a router, access point, or Switch, once established, the com 60, saving the digital media file 60, manipulating or otherwise
  munication link 70 is structured to be disposed between the 30 editing the digital media file 60, etc. In the various embodi
  media terminal 20 and the media node 30, and through the ments of the present system 10, it is contemplated that these
  corresponding networking device(s) 42. Particularly, in at parameters may be selected from either the media terminal 20
  least one implementation of the present system 10, because or the media node 30, at various times. For instance, the
  the media terminal 20 is disposed in an accessible relation to parameters may be selected by the media terminal 20, or a
  the interactive computer network 40, and because the com 35 user in control thereof, when the communication link 70 is
  munication link 70 is created and/or initiated by the media created and/or initiated, or by either the media terminal 20 or
  terminal 20, the communication link 70 can be established          the media node 30 when the communication link 70 is
  regardless of whether the corresponding media node 30 inde accepted or created.
  pendently has access to the interactive computer network 40.          Furthermore, it is contemplated that the protocol 10 of the
  In addition, the initiation of the communication link 70 by the 40 present system includes a plurality of versions of the terminal
  media terminal 20, Such as through a request to establish a program and/or the node program, stated and described
  communication link 70, at least partially allows the commu above. For instance, at least one embodiment includes at least
  nication link 70 to bypass the firewall or other media terminal one limited version of the terminal and/or node programs and
  security measure(s) 21.                                            at least one full version of the programs. It is contemplated
     Moreover, the media terminal 20 of at least one embodi 45 that the limited versions of the terminal and/or node programs
  ment of the present system 10 may be structured or configured are distributed at no cost or at least a lower cost than the
  to automatically create and/or initiate a communication link corresponding full versions, and as such, provide limited
  70 with the detected media nodes 30. However, more practi functionality. Of course, the terminal and/or node programs,
  cally, a user in control of the media terminal 20 may direct the whether the limited and/or full versions, may come pre-in
  media terminal 20 to create and/or initiate the communication 50 stalled with the corresponding media terminal 20 or media
  link 70 with one or more selected media node(s) 30, for node 30.
  example, via the terminal program. Similarly, the media node          Moreover, for illustrative purposes only, FIG. 4 shows one
  30 may be structured or configured to automatically acceptor implementation of the system 10 in accordance with the
  decline creation of the communication link 70 initiated by the present specification, generally indicated as 100. In particu
  media terminal 20. However, in at least one embodiment of 55 lar, and as above, in at least one embodiment, the media node
  the present system 10, the media node(s)30 may be structured     30 may include a portable device, such as for example, a
  or configured for a user in control of the media node 30 to      mobile phone, a cellular telephone, PDA, or mobile com
  selectively accept or decline the creation or establishment of   puter. For purposes of the illustrative implementation of FIG.
  a communication link 70 initiated by the corresponding           4, the interactive computer network 40 includes a wireless
  media terminal 20. As such, in at least one embodiment, the 60 range 50 located in one or more offices or rooms, wherein the
  media node 30 includes one or more node programs struc media terminal 20 is also disposed within one of the offices or
  tured to facilitate the practice of the present system 10 in the rooms in accessible relation to the interactive computer net
  intended fashion, at least from the media node 30 side of the      work 40.
  system 10.                                                     Furthermore, the digital media file 60 of the present illus
    Once the communication link 70 is initiated, accepted, 65 trative implementation of FIG. 4 may be disposed on the
  and/or ultimately established between the media terminal 20 media node 30, whereas the user in control of the media node
  and the media node 30, the digital media file(s) 60 may be 30 desires to display the digital media file 60 on the display
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   device 26 of the media terminal 20. For example, a user of a                 only transferring the at least one digital media file to, and
   wireless mobile device (i.e., an example of a media node 30)                 displaying the at least one digital media file on, the at
   can use the wireless mobile device to control the display of a               least one media terminal.
   digital media file 60 on a display (i.e., an example of display          2. The method of claim 1, wherein the security measure is
   device 26) of a vehicle media system (i.e., an example of a a firewall.
   media terminal 20) within an automobile. The vehicle media               3. The method of claim 1, wherein the transmission of the
   system may be part of a vehicle navigation system. Alterna            media file from the at least one media node to the at least one
   tively, the vehicle media system may include one or more media terminal completely bypasses the security measure.
   displays within the vehicle that are separate from the vehicle           4. The method of claim 1, wherein the at least one media
   navigation system. In another aspect, the vehicle media sys 10 terminal is a navigation system.
   tem includes an audio system (e.g., the radio) of the vehicle.           5. The method of claim 1, wherein the at least one media
      As shown in FIG. 4, the media node 30 may be disposed terminal is an audio system.
   within the wireless range 102. For example, the user in con              6. The system of claim 1, wherein the communication link
   trol of, and/or having possession of the media node 30 may is at least one of a peer-to-peer connection, bluetooth connec
   walk into the office which is disposed within the wireless 15 tion, and a WiFi connection.
   range 50. As stated above, once the media node 30 is disposed            7. The system of claim 1 wherein the at least one digital
   within the wireless range 50, as shown at 104, the media media file is at least one of an image file, video file, gaming
   terminal 20 is structured to detect the media node 20. The            file, and a streaming video file.
   media terminal 20 may then create and/or initiate a commu                8. The system of claim 1, further comprising presenting the
   nication link 70 between the media terminal 20 and the media          at least one digital media file on a display.
   node 30 via the interactive computer network 40, as shown at             9. The system of claim 1, wherein the at least one digital
   106, for instance, by sending a request thereto. The media media file is provided by the at least one media node.
   node 30 may then accept the request by the media terminal 20,            10. The system of claim 1, wherein the at least one digital
   which establishes the communication link 70, as illustrated at        media file is received from a server upon instructions pro
   108 in FIG. 4. Once the communication link 70 is established, 25 vided by the at least one media node.
   the digital media file 60 may be transmitted, i.e., “pushed' or          11. The system of claim 1, wherein the at least one digital
   “pulled, between the media node 30 and the media terminal media file is received from a server upon instructions pro
   20, as shown at 110.                                                  vided by the wireless mobile device.
      More in particular, because the digital media file 60, for            12. A media system configured to receive a media file from
   purposes of the illustrative implementation shown in FIG. 4, 30 a wireless mobile device over communication network, com
   is initially disposed on the media node 30, the digital media prising:
   file 60 may be transmitted, i.e., "pushed” or “pulled', to the           a wireless receiver;
   media terminal 20 from the media node 30 via the commu                   a security measure; and
   nication link 70. In particular, the media terminal 20 may               the media system disposed in an accessible relation to at
   display the digital media file 60, save the digital media file 60, 35        least one interactive computer network that has a wire
   and/or manipulate or edit the digital media file 60. In addition,            less range structured to permit authorized access to said
   the media terminal 20, in at least one embodiment, may be                    at least one interactive computer network,
   structured to transmit the digital media file 60 and/or the              the wireless mobile device within said wireless range,
   edited media file back to the media node 30 via the commu                   wherein said wireless mobile device is detectable by said
   nication link 70.                                                  40        media system,
      What is claimed is:                                                   at least one digital media file initially disposed on the
      1. A media system, comprising:                                           wireless mobile device, said media system being struc
      at least one media terminal disposed in an accessible rela               tured to detect said wireless mobile device disposed
         tion to at least one interactive computer network,                    within said wireless range,
      a wireless range structured to permit authorized access to 45 a communication link structured to dispose said media
         said at least one interactive computer network,                        system and said wireless mobile device in a communi
      at least one media node disposable within said wireless                   cative relation with one another via said at least one
         range, wherein said at least one media node is detectable              interactive computer network,
         by said at least one media terminal,                               said communication link being initiated by said media
      at least one digital media file initially disposed on at least 50         system,
         one of said at least one media terminal or said at least one       said wireless mobile device and media system being struc
         media node, said at least one media terminal being struc              tured to transmit said at least one digital media file
         tured to detect said at least one media node disposed                 therebetween via said communication link, and
         within said wireless range,                                        said communication link is structured to bypass the Secu
      a communication link structured to dispose said at least one 55           rity measure of the media system for a limited permis
         media terminal and said at least one media node in a                   sible use of the communication link by the wireless
         communicative relation with one another via said at least              mobile device for only transferring the at least one digi
         one interactive computer network,                                     tal media file to, and displaying the at least one digital
      said communication link being initiated by said at least one              media file on, the media system.
         media terminal,                                              60    13. The media system of claim 12, wherein the security
     said at least one media node and said at least one media             measure is a firewall.
        terminal being structured to transmit said at least one         14. The media system of claim 12, wherein the transmis
        digital media file therebetween via said communication       sion of the at least one digital media file from the wireless
       link, and                                                     mobile device to the media system completely bypasses the
     said communication link is structured to bypass at least one 65 security measure.
       media terminal security measure for a limited permis             15. The media system of claim 12, wherein the media
        sible use of the communication link by the media node to system is a navigation system.
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                                   9                                                               10
      16. The media system of claim 12, wherein the media              31. The method of claim 22, wherein the at least one digital
   system is an audio system.                                        media file is received from a server upon instructions pro
      17. The media system of claim 12, wherein the communi          vided by the wireless mobile device.
   cation link is at least one of a peer-to-peer connection, blue      32. A wireless mobile device configured to transmit a
   tooth connection, and a WiFi connection.                          media file to a media system over a communication network
      18. The media system of claim 12 wherein the at least one having a security measure comprising:
   digital media file is at least one of an image file, video file,    the media system disposed in an accessible relation to at
   gaming file, and a streaming video file.                               least one interactive computer network that has a wire
      19. The media system of claim 12, wherein the further 10            less range structured to permit authorized access to said
   media system is configured to present the at least one digital         at least one interactive computer network,
   media file on a display.                                            the wireless mobile device within said wireless range,
      20. The media system of claim 12, wherein the at least one          wherein said wireless mobile device is detectable by said
   media file is provided by the wireless mobile device.                  media system,
      21. The media system of claim 12, wherein the at least one 15 at least one digital media file initially disposed on the
   digital media file is received from a server upon instructions         wireless mobile device, said media system being struc
   provided by the wireless mobile device.                                tured to detect said wireless mobile device disposed
      22. A method of transferring a media file from a wireless           within said wireless range,
   mobile device to a media system over a communication net            a communication link structured to dispose said media
   work, the media system including a security measure, com                system and said wireless mobile device in a communi
   prising:                                                               cative relation with one another via said at least one
      disposing the media system in an accessible relation to at          interactive computer network,
         least one interactive computer network that has a wire         said communication link being initiated by said media
         less range structured to permit authorized access to said         system,
         at least one interactive computer network, wherein the 25 said wireless mobile device and media system being struc
         wireless mobile device within said wireless range,               tured to transmit said at least one digital media file
         wherein said wireless mobile device is detectable by said        therebetween via said communication link, and
         media system,                                                  said communication link is structured to bypass the Secu
      initially disposing at least one digital media file on the 30       rity measure of the media system for a limited permis
         wireless mobile device, said media system being struc             sible use of the communication link by the wireless
         tured to detect said wireless mobile device disposed             mobile device for only transferring the at least one digi
         within said wireless range,                                      tal media file to, and displaying the at least one digital
      structuring a communication link to dispose said media              media file on, the media system.
         system and said wireless mobile device in a communi 35 33. The wireless mobile device of claim 32, wherein the
         cative relation with one another via said at least one      security measure is a firewall.
         interactive computer network,                                 34. The wireless mobile device of claim 32, wherein the
      initiating said communication link by said media system,       transmission of the at least one digital media file from the
      transmitting by said wireless mobile device to the media wireless mobile device to the media system completely
         system said at least one digital media file therebetween 40 bypasses the security measure.
        via said communication link, and                                 35. The wireless mobile device of claim 32, wherein the
      wherein said communication link is structured to bypass media system is a navigation system.
         the security measure of the media system for a limited         36. The wireless mobile device of claim 32, wherein the
         permissible use of the communication link by the wire media system is an audio system.
         less mobile device for only transferring the at least one 45 37. The device of claim 32, wherein the communication
         digital media file to, and displaying the at least one link is at least one of a peer-to-peer connection, bluetooth
         digital media file on, the media system.                     connection, and a WiFi connection.
      23. The method of claim 22, wherein the security measure          38. The device of claim 32 wherein the at least one digital
   is a firewall.                                                     media file is at least one of an image file, video file, gaming
      24. The method of claim 22, wherein the transmission of 50 file, and a streaming video file.
   the at least one digital media file from the wireless mobile         39. The device of claim 32, wherein the device is config
   device to the media system completely bypasses the security ured to present the at least one digital-media file on a display.
      CaSU.                                                             40. The device of claim 32, wherein the at least one digital
      25. The method of claim 22, wherein the media system is a media file is provided by the wireless mobile device.
   navigation system.                                              55   41. The device of claim 32, wherein the at least one digital
      26. The method of claim 22, wherein the media system is media file is received from a server upon instructions pro
   an audio system.                                                   vided by the wireless mobile device.
      27. The method of claim 22, wherein the communication             42. A transfer system from transferring a media file over a
   link is at least one of a peer-to-peer connection, bluetooth communication network, comprising a media system; and a
   connection, and a WiFi connection.                              60 wireless mobile device, wherein the media system includes:
      28. The method of claim 22, wherein the at least one digital      a wireless receiver,
   media file is at least one of an image file, video file, gaming      a security measure, and
   file, and a streaming video file.                                    a processor configured to
      29. The method of claim 22, further comprising presenting         the media system disposed in an accessible relation to at
   the at least one digital media file on a display.               65      least one interactive computer network that has a wire
      30. The method of claim 22, wherein the at least one digital         less range structured to permit authorized access to said
   media file is provided by the wireless mobile device.                   at least one interactive computer network,
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                                                      US 9,300,723 B2
                                11                                                                12
    the wireless mobile device within said wireless range,          43. The transfer system of claim 42, wherein the security
       wherein said wireless mobile device is detectable by said measure is a firewall.
       media system,                                                44. The transfer system of claim 42, wherein the transmis
    at least one digital media file initially disposed on the sion of the at least one digital media file from the wireless
       wireless mobile device, said media system being struc- 5 mobile device to the media system completely bypasses the
       tured to detect said wireless mobile device disposed security measure.
       within said wireless range,                                  45. The transfer system of claim 42, wherein the media
    a communication link structured to dispose said media system          is a navigation system.
       system and said wireless mobile device in a communi          46. The transfer system of claim 42, wherein the media
       cative relation with one another via said at least one 10
       interactive computer network,                              system is an audio system.
    said communication link being initiated by said media link47.isThe         system of claim 42, wherein the communication
                                                                          at least one of a peer-to-peer connection, bluetooth
       system,
    said wireless mobile device and media system being struc connection,        and a WiFi connection.
                                                                    48. The system of claim 42 wherein the at least one digital
       tured to transmit said at least one digital media file 15 media   file is at least one of an image file, video file, gaming
       therebetween via said communication link, and
    said communication link is structured to bypass the Secu file,49.andThe
                                                                           a streaming video file.
                                                                              system of claim 42, wherein the system is config
       rity measure of the media system for a limited permis ured to present       the at least one digital media file on a display.
       sible use of the communication link by the wireless          50. The   system   of claim 42, wherein the at least one digital
       mobile device for only transferring the at least one digi
       tal media file to, and displaying the at least one digital media file is provided by the wireless mobile device.
       media file on, the media system.                                                     k   k   k   k   k
